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DOCKET NUMBER: 11- CR-259 (RER)

                                      CRIMINAL CAUSE FOR TRIAL
Date Received By Docket Clerk:_________________            Docket Clerk Initials:____________________
BEFORE JUDGE: Ramon E. Reyes, Jr.           DATE:5/04/11 TIME IN COURT : 9:30 a.m. - 5:15 p.m.
DEFENDANT’S NAME: Gavriel Bidany                              DEFENDANTS #______1___________
         X Present              Custody                   X Not Custody
DEFENSE COUNSEL: Saul Bienenfeld
          X   Present                      Federal Defender             CJA           X Retained
A.U.S.A.: William Sarratt and Lisa Kramer          Special Agent: Janet Ambrisco and Derek Martinez
CASE MANAGER OR MAGISTRATE CLERICAL: Miriam Vertus
COURT REPORTER: OR ESR OPERATOR                   Gene Rudolph            TAPE LOG___________________
INTERPRETER: Meir Turner & Ruth Kohn               LANGUAGE:
      Arraignment                                            Revocation of Probation non contested
      Change of Plea Hearing (~Util-Plea Entered)            Revocation of Probation contested
      In Chambers Conference                                 Sentencing non-evidentiary
      Pre Trial Conference                                   Sentencing Contested
      Initial Appearance                                     Revocation of Supervised Release evidentiary
      Status Conference                                      Revocation of Supervised Release non-
      Telephone Conference                                    evidentiary
      Voir Dire Begun                    Voir Dire Held                          Jury trial
      Jury Trial Death Penalty           Sentence enhancement Phase        X      Bench Trial Begun
      Bench Trial Held                   Bench Trial Completed                   Motion Hearing Non
                                                                                    Evidentiary
TEXT
        Bench Trial commence. Opening statements. Exhibits submitted into evidence. Witnesses testify.
Government Rest. Defense’s oral motion to dismiss the elements of the crime “sexual contact” is denied. Trial
will resume on 5/5/2011 at 9:00 AM.
